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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA



 THOMAS M. JAMES,                                    )
                                                     )
                              Plaintiff,             )
        vs.                                          )      1:09-cv-1204-WTL-TAB
                                                     )
 GEO GROUP, INC., et al.,                            )
                                                     )
                              Defendants.            )




                         Entry Discussing Amended Complaint
                        and Again Directing Further Proceedings

                                                I.

        Thomas M. James’ civil rights complaint was “rejected” in accord with the holding
 of George v. Smith, 507 F.3d 605, 607 (7th Cir. 2007), because it violated the joinder of
 claims limitation of the Federal Rules of Civil Procedure. Simply stated, “a civil plaintiff may
 not name more than one defendant in his original or amended complaint unless one claim
 against each additional defendant is transactionally related to the claim against the first
 defendant and involves a common question of law or fact.” Garcia v. Munoz, 2008 WL
 2064476, at *3 (D.N.J. May 14, 2008).

       James was given the opportunity to file an amended complaint which did not violate
 Rule 18. His sprawling amended complaint on January 15, 2010, however, likewise violates
 Rule 18. The amended complaint, therefore, is also “rejected” pursuant to George.

                                               II.

       Final judgment will not issue at this time. Benjamin v. United States, 833 F.2d 669,
 671 (7th Cir. 1987). Instead, James will once against have the opportunity to file an
 adequate amended complaint–to be labeled, if filed, “second amended complaint.”

       James shall have through March 26, 2010, in which to file a second amended
 complaint. The second amended complaint is to comply with the Federal Rules of Civil
 Procedure, including Rule 8, 10, and 18. The second amended complaint, if filed, is to
 conform to the following guidelines:

        (a) the second amended complaint shall comply with the requirement of Rule 8(a)(2)
        of the Federal Rules of Civil Procedure that pleadings contain "a short and plain
        statement of the claim showing that the pleader is entitled to relief. . . . ";
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          (b) the second amended complaint shall comply with the requirement of Rule 10 that
          the allegations in a complaint be made in numbered paragraphs, each of which
          should recite, as far as practicable, only a single set of circumstances;

          (c) the second amended complaint must identify what legal injury he claims to have
          suffered and what persons are responsible for each such legal injury;

          (d) the second amended complaint shall contain a clear statement of the relief which
          is sought; and

          (e) the second amended complaint should not include legal arguments, citations or
          extraneous factual allegations unrelated to the claims.

                                                     III.

         If a second amended complaint is filed as directed in Part II of this Entry, the court
 will screen it as required by 28 U.S.C. § 1915A. If a second amended complaint is not filed
 as directed in Part II of this Entry, the action will be dismissed without further notice to the
 plaintiff.

          A copy of the amended complaint (dkt 15) shall be included with James’ copy of this
 Entry.

          IT IS SO ORDERED.




 Date: 02/24/2010
                                                       _______________________________
                                                       Hon. William T. Lawrence, Judge
 Distribution:                                         United States District Court
                                                       Southern District of Indiana
 THOMAS M. JAMES
 # 98106
 ASDC-LEIS
 BARCHEY UNIT, 2-F-22
 P.O. Box 3200
 Buckeye, AZ 85326




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